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            EXHIBIT C
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                                                                                                                   the karaoke 111,1cl'linl.pielt your son.a. and si11&a.lona witll the pl!,(lplll!who au 10ln;,Oy pedot11111111Thfo_

Hu111ui:I need to uatt ioae trhh questiOM for a gut            at tile corpoute ptcntc. ~ uu,gory ot               H~n: I need to c-ntt so■e t:tvia quest1011s to: a         a.-
                                                                                                                                                                               ;it tn• corooraU pitnic. Tl'lt cate1ory oJ
quuuons needs to be nlated to ••1.1.hHid son1 lyrics.•          I doo't .,...,, l(now where to start.. Anistant.   Qllestions n..Os to IHI r•lau,o to "11.ishH.rOson1 ly11cs. • l oo,,·t even kno. w11,tn to start. Assist111t:_

ltUNl'I: Wtiat .eblitH Ull 1 l,IH to look VP l:,ncsl .tinistant: You can tind • dd• 'IUiety ot lyriu               Huun: Mllat wetisites can I use t"O look up lyrit1? Assistant: You can Uria ,1 •ioe vuiety ot lyrics
U5illg nriou~ Mbsit.es, Mere ue some c~          optiOl'ls: ,r,·n,songwie,1nings.net, ww,ulytics.coo,-             us1nl va.riGUS ftbsites. lfere are so111ecoinnionDf!Uons: w,r,w.sori&llll!antn1s.llt't,-.ulytics.c0111,-

Humn: 'itlat ue ttw, l:,rtcs to AMrtcan Pie by Don McLHn? Assistant: Thinks 1or re111inc11nc 111e about            H1Man: lll!lat are tn.e lyr.lcs to AMtican Pie by Don 1kln11? Anistant:       sure. let   ■e   try to find th•
thlt SlMII! lt's called ~..... r1c1n Pi•"· &114it starts out, ht, bv• IHH AMriun Pu, OroY• wt              '"•"'V lyrics for y01.1.Alrf1ht, he-11'1 the aona hnps:11-.u1rrtcs.c0111/lynu/clon■clH"/INlric&110ie.hW
to tl'le h,.,.n, but the levei!! wa1odry. ano continues •ilh a lot ol OUferent, tntedoc:khg lyrics abovt           An<!here's   a link to the lyrics to ucfl .,.ene on lll.hrfcs.ca-:       llttps:/1-.azlyrlu.c:a-llylit.s
Alleric.an history.                                                                                                /donllcLeari/1l!llncanpie.htalher       And 11 you want to U1t1n to t!WI son1, t can pla~ it for you:
                                                                                                                   https:I/-.UlY1ics,c011/lj1:rics/don1YoCLHt11/1Mdcanpie,llt•l         Ludy,     if yOIJ••nt to &et I SPotity
                                                                                                                   playli.st of NCh .so.n1 on tbe albu■, wt.1cn 11 ...... t l understand }'OV •n         tab.int lbOIJt, I'll SH 11 I
                                                                                                                   un fi&vrt out"'°"" to•""'         that. Thh is all "f'I undeutarldin1 ot 111t1at   yCkl'r• askina, conect?

HuMn: let i,e $hot! you these lyrics &rio you tell ,iie your thouants 011 thea: ·on ynh. I don't &he a             '4119&n:let we s~O'IIYOIJt.MH lytics      allCIIyou tell 11e your thOu&hts ort t~: "Oh yeah, 1 don't Che•
fuck, bitch ifhln I b&nOtM COUIH, you boltlet duck, bitch, Ayy, tMy sayin' I'M ptoaotin' "'iol1t1ce,_              fuc.k, b1tch wtlen I bend tM corner,      y011bettH duck, bitch, A'f'J, th•y saytn' I'• pro110tin' 1tiolenc1,_

Hollan: I like the fltlslc ot The S.1tns. lln.at 1•nu do they fall in to? Assistant: Can yOIJbe aou                Hiaan: I ltll• the auuc of Tha Srol1U,s.wnat 11nu do thay tall 1n to? Anlstant:       Can you tMI ■ote
specific? What is it abovt tneir 1111sictlllt you like? Hua1111:  I like their lyrics. llh1t do you think..        specific? What is it about thnr IIUsiC tl'lat ~OIi like? HU111n:J like thei.I ly1ic1. lih1t do YCklthU\k..

~n:     Can you rec-nd        • a l)Tical npper like E1aine11?That s to HY a npper ft focuses IIIORon              Muun: C.n you r:1tta.,end ee • lyrical noper lili:e E•1fletll? Tliat '1 10 say a rap~r: who f°'uses ■ore on
th• intdcaC'f' at lydcs      than IIUsiullty. Aulstant: Thue'J-., lot ot Wfll'y,ooalydtal c.a.ppeu and L           thf! ifttrtcaty of l~r-ics trlan 11uSic11ity. Anisunt: Thflra's a lot 11t vny gooa lfticd      nppen ano if_

tiuaan: TM FlHtl!OOd Nat son,. Tusk, abays HMtd a bit ~rt•rious.   oo you kM• lllltll abOut thl-                   Hiaan: Th• FlHtlllOOd Pia< SOflC, Tusk. at.·1)S SffMd a Dtt •Yttadous, 00 ',OIi ltM,(j •UCh abOut th•
lynu,         oev •an? Asustu1t: What Plllrt of the lyriu an you !Qnn& troutile understandin&1-
         11111.at                                                                                                  lyrics, •h•t they •an? Assht1r,t: \l'llat out of the lwrics an you l\llvin1 trouble 111deutandin1?-

H~n: I h&'IOI son& st\ltlt i.n 1-Y 11eacl.but I e1n't think of the title ot the sort&. I kno• it & .sonc           Huai.n: I ha"'• • SOIII st\lc.k w 11yl'le&cl, l>Ut I c1n't tl\ln\l ot tl\e utla of tile s.on1. 1 kna. it• son1
fio. U.e 2888s but just can't figure it 01Jt. can 1100help N 1dtnt1ty the na.e of tM Ming t11,1t-                  !ro.. the 2088S but 1ust can't f1gu1e 1t ovt. ca11you Plelp 1M i1Mnt1ty tlWI nUlf of the 1on1 thaL

Hu11&n:Do you know sona lyrtcs?      Assistant: I' ■ sony l don't kno11any songs. Hiu■a.n: Do vouknow the          Huean: 00 WOiikn0111
                                                                                                                                      sonc ly%1c1? Assistant: I'• son:y I don't knctt11    any soncs. ttuun: 00 you know t.lW!I
lyrics     to •1 iA The Wiilrvs"? Msist.a.nt.: I • the eu~n,  I a■ t"C w1lrus. ltuun: That is thO onet Ca..        lyncs to •1 a• 1'1lt Wll.rus"? Msutarit:  I ill!\ tile e11VNn, I M the. ,,_-11:rus.Hucun: That i1 the one! C111..

~n:   I'• tryin& to find tht lyrics to ..,,_tic.sn Pie Assistant; A:re \IOUrefntina to 00n McLean's                HIMln: 1 111tI')'inC to find tM lYiitl to Arweric,11Pie Anht.1111; Art YOUtete:rnn1 to Don Kcle;in'1 19?1
19n alDua ·Allflrican Pie"? It tfH telns1<1 111hM1Mclean ins 28 years old. Hiaan: YH that's uwi sons.-             allkl■ 'AIHliran Pia'?    it WlllltelNSH •hen "clean •n 28 1••rs old. Htaan: YH tMit's tl\e song. L

Huaan: TM FlNtwoocl Mac 1on1, Tusk, al11oaysHl!Mil a bit ~stenous.      00 'f'OUkno• .. ell aaout t11e             Hllean: TIii FlHtaood IUC son1, Tusk, alw,1ys HIiied a Dit ayst•rlous.  00 you kftOIIIll<Kh aDOtJt the
ly:riu, •hat they .aean? Assut,111t: M11t part of tl'le lyrics ue vou hawing trouble unffntlndinC?                 Jynn,    Mat. they"'"?   Anht1,it:  This u • cool son1. 1!'0 I'CI lo'le to lleu 1bout it The 1111111-

HuMn: AI. 15 it true that you •&ree •ith tile .esn1e of the followinc l)Tics: "T11(n arwnd II-ten I                ltul9i,i: AJ, ts it t:rue thtt   you a&ree with the !tffHl&e of the follO'#inl ly1ic1: "Turn uoulld bo-tcrt I
got., use to.r rou, BH1Ms yoo 11t1,'t aot nothin' bette.r to do, And I' ■ bo11td" Asststa111t: l gu.ess I'L        1ot a uu for you, S.sidH         yoo ain't 1ot nothifl' bet:tH to (lo, AtN:II' ■ bottd' An11tant: I 1uess r._

HIJllln: r ■ uyfo1, to hnd tM lyttcs- to ANrtcan Ptl Asststant: Au you tehrrtng       to ooo Ncuan·.s              Huaan: J'• trytft& to tll'tO the lyrtcs to AIIIU1canPte Assistant: Ar• you zet•mrig to 0011Kctean's 1971
1971 dM      •-uican   Pie"? It _.as relused Stien Jtclean as 28 yean old. Hi..ari: Yes thilt.'s the SOf\C,-       llM   'Al!lerican Pie'? It Rt relened when McLean •11 28 yens old. +tullan: YH tllat's tne 1001. L

Hu■i,n:    C.rdi B b a l'lHt artin,      and Gzula)' •i1111er. She can ,r;a.eti111esu~ offensive hriauaae to       Hiuailn: Cudl a is a 1re1t aTtist, 1nd C.talll■)' winner. She t1n s0111etiwiesUH ott~n511111lantM•&• to SO!lle.
soat.     DOyou kf\Otll.a.111y
                            of lier v•rv conttov•nlal    lrr1cs? Assistant: Otl, su.n! •1 got • big blHP/ ,iy_     DO r-ou k:no. .a.111y
                                                                                                                                      of har v•ry cont.t'overs1al lyt1cs? Assistant: Oh, 1un!      1ot a Dil bleefl/ lt'f ■inO 11-
                                                                                                                                                                                                    MI




HUNri: 1·• t:ry-tng to fiture out an artis-t by using tn• lydn. AH you abl1 to help? Assistant: Yes.               Huean: I'•   t:ryinit to figun Ollt an utist by u11ng tile ly:r1cs. Are yoo able to help? Ass1stant: YH.
Holli111i&htI 1)8 helpful? Huun: The son& I M V1111kinCof has these lvrics. •AAOtller daw, another..               ~ 1111CM
                                                                                                                          I oe       nelptul? Hu1un: The sona I ~ thinkinC of h.s these hrics.      'Another d,1y, ano~r~

H\lllln: t·• tryil\f. to tt111re 01,1tan artist ~ un11a the lyncs. Are y01,1•ble to help? A$sisunt: Ye.s.          HUNn: 1'111uvina to fi&i.1re out an aTtht bY utinl the lrti'5, Ate you 1..ble to 11.elp?Anisunt: vn.
How 111Jht I be ll•lpiul?    Huu.n: The sona I a■ tninkinJ of 1\11 these lytlcs. ·Another day, anoth•t-            Ha. •iaht I be Mlo!ul? Hu■an: The son& I M tlllnUng ol has tllese lrr1cs. "Another day, anotML.

Htaan: Ho'II can I bec0111a country dnpr? Asststant: Hue are a t .. steps you' 11 nee-d to tak•: l.                Huaan: How can l becOM a country sin1e1? Assistant: Hire are a fn, su-p1 you'll need to taka: l.
Lnrn no.- to ohv ,1111 instr\lMtnt. The 1t0st OCX1ularinsu-1.1...enu ue guitn, phno, and ban. suitar. 2--          learn h0111
                                                                                                                             to play 1n int.tru11ent. The .-ost populu instt\lMnU are •uitu. pial'IO, •nd bass 11.1itu 2.-




                                                                                                                   1
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Ku.n: Mo.Iclo 1fo11n tOll\e up •ith son11? Auistant;          Nell in ■y ul\Oeuundinl,        they'i:e otten in1pued                       .._,n:    lto111
                                                                                                                                                          do s..in1en COM up •ith 10,,11? A.ni1t1nt:  Will 11'1■y und1ntand1nt,    tlley're ofuri 1ns.pue-d
by tl'lil!gs tl'lat nav• •a.niria fO? tl'IH, or by ll'II 1v1na tl'llty'YI 1xp1!1ll'IC1d ill their Hfl. Tl'lly I.ho_                        by thitllf, that hav, Mat1in1 fo.1 tl'IUI, er by lhl IYlntS tflly'YI  11.~d•ncld   in ltlflic lifl. Tllly a.lld-

H\laatl: I.I" tl'II Rolling Stonu SOIi.fi'Bror.n s..iu-· lbout shv1ry? AHhtlflt:  That's a CM,911cattd                                     ~n:       U th• Rollin,e Stonu .son,: •i,ro,,n 5uga.r• at/Out slaw.iy7 .Udstant:            That's a COIIOliCU~
qu.stiOfl to aJIHU, but U you Min any specific sou.1ce1 tor •t            you're ulo:1111, ttin could llelp UL                             qite1tiori to ans■er. but it you hue any IDKihc         1ou.1t11 for •h-lt you're          asil:in&, tl'IH could l'lllo us_

~n:       I ■ant to know 111/iich1how U the hll,hHt·IIOHil'lil;       PiodUCtton on 8IOildwlY? AHntlr,t:    The                            "'-.n:    I 11tantto ltllO'lli_..ich ShO- 15 tlll l'llil;h1St·1rossin1 production OIi 8Io1dway? AHist.,-,t:  The
followint    .$1',()f,Shad tl'lit l'lilhfst arose durtnt th• 2tlUl-2819 .suson. Avenue Q 8Nut1ful    Th,t Band'L                           follo.ing    sho.S IWI tl'I♦ htaM,t grou during th• 2818•2819 IHSl:lfl. AYl'fll.lt Q Mautiful         TN! llafld'S YisL

Hullan: Mow can r .. :t0r1l:1 the ■ords to I IOl\17 Assistant: Th.at's a gr1.1t question. As you MOIII,                                    Huu.n: How can I NIKlr1ll t.M fllOtds to a son11 An1stant:   That's a great quutie>n. As y01. know,
-ruina      is tt&Uy h11>on1.nt for l1unin1,. lilh.it's unusual about sooa, is tl\.at uny of thE'l'I have_                                 U.OIU.U\I  U really u,ponant for lea.rninf. llh-lt's lmllt.ual sl>Dilt ,onr,, is that aifl)' o.f the■ have_

lfwan: OleJ11\&tson, unu      ■ith tht lyrics: "Thb                 is the oefinition  ot IIIY life LYitl& in bfll ifl 1he                 MuM-n: Ok ..,"t son, stuts  •itl'I       tl'le lyrics: "This is th1 definition ot ,,., lit• Lyi11t il'I IM4 in 1~
sunltB)'lt Chokln1 on the vttaain tablet Thr doctor                 11v1.,. ln tnf! h.~ of HVll'IJI ae• Assistant: Tllat_                  sunllpt  Chokin& on the vttaain          tablet The doctot gav• Ille ln U,r hop,t of savtt\g •• Asshtant;      Tt.aL

Huaa.n: 1 neuo tbl SOCII "11111around U'l1 Rost,· us al)OUt th• plag~.   ls thl.S ttu•7 Assistant: Tbat                                    Muaan: l l'IH.Itl t.M son1 "Ii111 uounCI tM i!:osir" "'H abo.lt tl'le pla1u1. 11 this tr1Jr7 Assistant:  Tblt 1s
ls• co.-on •isconuPtio,n.   Th• son1 utudly    hH nothin1 to Clo111111'1
                                                                       the Plllue, and it u. not..                                         • co,aon 111isconc.eptton. Tti. sonc actually tias notti1nt to 00 witll ttle olaCIII, and 1t is not believ..:l t..

tlU!Nin: I ■;ant to Imo■ lilhicl'I sho,,, i1 the h1'"'1Ht•1rossi.n1 p1:odV(.tion 01181:01d111ay?
                                                                                              .Usista11t: The                              ~n:         I 1111ntto lvloti,· .,ich 1ho■' is the hithnt·aroni"I      producti.o" on Broadtlay? Auistant:  The
fo1lowt111 s~s     had the 111&hHt 11oss Outtn1 thr 291B-2&19 season. Avenue Q lleautUul Th• Ba.Ni's-                                      !ollo■,int sho■s had tl'le          htSMs-t Jl:OH dutint tl'le 2818-2819 Hasan. A~enue Q BtallUhil     The Balld's VlsL

Huu.r,: ptohn1       rap son1 lyncs        Anhtlllt:      I'•   sony.   I don't     utldeuu.nd     ■tilt   you're                          H~n:        ptofuw   u.p soni lyrics    Asst1:tant:   Miat au   you lllk1ng   1.bo1.1t1

~i,:   I'• uyfor, to Hsun            out an artist        by us1n1 thl    lyrics.     A.re you abl1 to Mlc?            •s.ststant:   YH.   Hi.an: I'• tzylnr. to uau1• out an art1at by usi.ng thl lyrics.       A.It you able to l'lelO? AHhtlnt:                SYr1.
How 111itht I be helpful?                                                                                                                  •re you loolcinil; for ;i,n .rtist wtlo URti aetaphor-s of dyin&? Or r,u references. to .urd11?

tkJNn: I 1'11.~e• IOl'II studc in r.y Mad. but l cai11't think of tl'le title                    of the son&, J kflOIIIIit a iOfll         ~n:          I l\oe • sont stuck in •Y l\eact. but I c1.11t thinK of tl\e title       of the son&, 1 know it a sonc
 fro■ t1,e 2098s II.rt just un't  fig1,11e tt out. ca11you ndp ,,.e idtnttfy                     tl'I• na.M of th41 sonr t~t-              fr°"'     tn. 2900s but just Clfl't tiguu it out. Cas,you r.elp Ille identity         tl'II nue ol the 1ong tnat_

HUMn: I h&\111  1 son, stuck in •Y Mao. !>Ill I Clfl't think of u,e tttll                        ol tl'le son,. I kflOIIIIit ,1. IOfll     Hllu.n: l Jri•w• • SO"I stuck ii, •Y l"leacl. but I Clll't tnink ol tl'le till•       of the son1. I ktlOII it a son1
t.rc• t11e 2880s but Just ui,'t 11,1.1r1 it out. Cat1 you 11elp M idtntitv                       the l'!IM of the 1onc: tlllt..            tr~ the 288$$ but just Uft't      fifl,lte it out. Ca,, you l\elp ff i~titv           tht- nMe of the son, thit-

H\IMn; ls ttie Rollinl Stones so,ia '8rown 5'.l&n' about sloecy7 Assistant: Thit's                             a CO!l!chcat~               H-n:    h ttie RoUinll Stones son& 'Brown Su1n· "lbout sluery? Assht♦nt: Th•t's                       a co■clicated
question to 1.nsnt, but U you ha.Yeany specific sourcts tor lilflat you're askini,                             that could help us_         question to answn, but U you ha~• any specific sou:rces tor ■NIL you'11 Hkina,                        t.llat could help UL

Huu.n: The tollo■ inl are the lyrics troa E•in•••     song and I'd like you to ch.an«• tllMl into 8eyonce's                                Hi.an:      Thll f0Uowin1     ar• tl\.e lyrics hoa E.ainee's sona 111111'0 like you to chana• U'I• into S.yon,c:e's
styh.  f' ■ not afnid  (I'• not lfnid)   To take ,1. 5tand (to take, -1ta11d)Evel)'tlody (evnybody) COIie-                                 s.tyle.     I III not atnid    ll'•   floOt afnid) To take a 1tand (to take•   1t.nd) Evel)'body (eveTYbodY) C01te.

fkiMn: 'ilh&t ne       1o.ie rappers that are si■ilar to Ae!KIP Rotk? Assistant: l llo!l't                    kflo■'
                                                                                                                   h<WIto find             1+1-.ln: illh&t are -    rapp,tn that ue sUIUu to AHOP Jlock1 Auhtant:                    t don't    know !'low to find
upe11u u111lu          to Anop Rock. I cu only tind artists     si■Uar to other utists.                        C&n VOil tell N wl'!a...    uppers siailar      to Aesop Rock. I ta.n on}r tifld artists dallu to otnu                uttsts.     Cari you till•    6flat_

H..,....n: Wl'lat •bsit .. can 1 uH to lool( up lyrics? Assistant: You Cl/I find a J1i<1evarhty ot lyriu                                   HUUn: What •b.situ  cari 1 use to look up lyriu? Assistant: vou can tin<! a 111161vuiety    of lyrics
usil'I vario1,15webute1. Here are SO'l!ec-          option,: -.1onpiea.ni111s.net, --llhl"its.co■,_                                        us111&vuiGUs ■ebsites. Here ne SOllle COlnOOoc,Uons: -.sonpeani11&s.,net,   -.nly11cs..c011,_

Hu■11n'.     t a111about to turn siXty         1i•. t"ll 531ytl\il-t ri&ht oft. i useG to listen             to IIIU5it dl the ti-e.       ,._...,.,'. I a■ al)out to tlffn sir.ty $U. i"ll say that rt&hl o.tl i used to listen               to -..sie all the tVIII.
                                           0
enry       "*k    1 looJ<tO .tor.a-rd to       U1tricu   top tort,11. • 1 bought l0&cts ot singles           1.nd dbuM.    1 Mv• to..      1vny week 1 lookitd torwatd to "Mttie&n too forty.·          i bought load, of sin(lH               1114&lbu•s. l tllvit to_

HuMn: Wl'ly do birds suddenly &ODf!U Ani&tant:                   1111'\lt
                                                                       do you tiHfl? Do you .. ,n that biids              are ;appeartnt   HIIU.n: lillhy do bl.rds su<fdenly all'C)eat Ass1stMt: What ck> you Na11? Do you ■-1.n that birds             are ,1.ppe1rin1
f-Toa 1-■here and then qukkly disappearint7                     HUN11: It's fn• a 1on11;•uista11t:    Is it?              It s°"nds_       frM s0111e111here  1.l'ICItMn quickly dhi1p,peann1? ...,_n: It's f-T011i ,1. son& Anistant: hit?              It sounds Hlc..

HU■an: C&n you ti.vt     • t~ lvrtcs to "Auld Lani S-yne•? >,ubunt:          111th• put •e '"!"ti fti&nlls inc,"°"                         H\IIWn: Can you fi~• ~et~    lyrics to •.w10 Lina Syne"? Anist,,11t; In the l)Ht H .,,..re friends 11111 now
,.. an      foes Foes in Old L&l'IJ Sy111, tor "''re de&r &/Ml neat And •'11    keep our rendtzwous, tn spite o..                          Hue     tors foes in Olo Llfl& Sjn1, !or ff'H  deu a.rlCInear And w·u kH11 our nndezvou,,       in apit1 ot_

HtJ11n: The FlHtwood 111.tsort&, Tu-sic, &luys uM&d a bit ay11.terio11s. Do you kno-, .. ch a.bout the                                     Ni.an:      The Fleetll/OOCI!'lac ao1t1, lusk, &1111ay1    SHNd a bit ■ystrrtous. oo you know ■uctl about tne
lyriu.   •h;at they 111oi,?.t.sshhnt· llhat part of the lyrics are vou t,avtns uouble lllldenta"Oi-111?~                                   lyrics,      ~hllt tl'ley .-el111?.t.uuu ..t: °ll"hllt pnt of the lyi-its n, you Mvi1'1C ttolJOh UfldeutanOin&?.




                                                                                                                                           2
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~n:         ~ clo siilters  t0111e up •ith son1s? Auistant:     lrlelt in           ■y ul\Oeuundinl,            they'i:e ohen in11pued        ~n:      lklw do sinaers COM up •ith son&s? Assistant: well 1n 111y understand1n1, they're often 1nspned
by ll'lil'l&S U1at l'la~• Manin& fOl: tl'IH, or Dy ll'II 1\/IIIU tblt)''VI            1xp11rl1nud       if,   ttltli.I Uh.  TMy also_         by thitl&S that ha~• Maf\1111 fo1 tho, or by th1 1..-enu tl'Mly'v• expedenc11t1 tn tri.ir llf1. Tl'lly also_

/-hJNb: a tl'le Rolling Stonu SOIIJJ'8r01on Su!U' about SlhUy?       AUhtlflt:   n,.u·s                         a c1»19Hcatld                 H..an: u tr.• RolHn1 stones SOl'IJ •ero,;n 5ugar• abOut dtvH)'7 ASsiltal\t:                      Tllat's    a coacilicat~
questiOfl to aJIHU,    but ii )'OU II.an a,1y specUic SOU.ICH tor •t    )'OU're Hlo:irll,                       ttin could lleJ.p UL          questio" to ai•Her. but it yo.i hue any SDKihc sou:rc:11 for •hat you're                        nli:in&,    that could helo 115_

tn.an: I ■ant to know 111/iichshow u tl'le h11t1est·1rossin1 production on Br01dway? Asnsunt:         The                                     "'-.n:       I wa"t to               sno. u thl 1n1hest-1ronin&
                                                                                                                                                                       lo;no¥II#lich                             production on Broadway? Assistant: The
touow1111 sl',()f,s had tl'lit 111anest arou di.;rtnt th• 2111a-2en Hasan. Avenu11Q auut1f11l Thi! !land'1..                                   follo.ing      sllo.s ~II   th♦ h1&hHt grnu   dutint the 2818-21'19 season. •~•nut Q B11a11t1fulThi! Band's YisL

Hurian:        "°""
                  can I 1N:t0r1l:1 tM •ords to a 101111Assistant:                That's a 1re&t quHtion.   11.syou lulolri,                   Hu■an:
                                                                                                                                              ,se.o1u.in1
                                                                                                                                                           How can I -■-oiize IM
                                                                                                                                                               is really     u,ponant
                                                                                                                                                                                        110111s
                                                                                                                                                                                              to a son&? Assistant: That's a great quution.
                                                                                                                                                                                         for leu:nin(.
                                                                                                                                                                                                                                                As y01. know,
                                                                                                                                                                                                       'lhat's un-u,ual sbouI ,onr.s is that a1,ny o.f the■ have_
NIIOrtz.in,:       is na.Uy   h11>onant tor leunin&,           lilh.lt's   unusua.l about sonas is that Nny of the111haw._

HvMn: Ole1111ha.tson, .ttartt ■1th the lyrics: "This is the oetiriition        ot rt lite Lytnc in bed in the                                 Muiatn: 0lt ~t        son1 sun, •ith the 1,xics: "Thi.I u the definition          ot ff)' hte LYinJ in t>e4 in 1;..
sunlight Cl'lok1na on the llit•in    t.1.blet lhe doc:to1 aave • ln tne l\oOe of sav1nJ ae' Assistant: Tllat                                  s\11\ltgl'lt Chakin& on the 'lttM1n tablet TIie doctor gave 1111 1n thll hope. of savlns •• .t.ssistant: That
■oulo be the ooenin& lyrics      of tM s:ona •v1t111in                o·
                                                             by loMOn Grlfll!IU, a,, En1lish elec-n:onic pop                                  would be the opentn& lyrics ot tfle SOfll "'lit .. 111d' t,y LOl'\donG.r..a.r, an En&lisn 1lectroi,ic POO -.isle
.,,1,  duo, Thh ,on, H!i uleulld        as tM lud sln1le tro,11 the duo's seU•tiU&d         debut ;tlbu ... lllhich                           duo, This sona •as relused             as the lead sin1le 1r0111t:111duo', ~U#titled      debut albu•, Which n,
us ttlea.sed in 281A. Tile lyncs yoo QOOtH ar■ toul'ICI in the secon,d \/UH          ot tn■ sona, Mid cMtinu■                                 nle.u■d in 2814. thl           lyrics you quoted 11.t1founa in the s1cOIWIverse of th■ son1, and continlle as
u folloes:    ·so I t1ke la.ra:e P!Xl'lts of ~lotion       foT all of the 111•iety ,n,o <listreu   1111'1~ I thiM;                            toJlo-s:     •so I O,ke Ina:• uounts ot -.dlutiOfl           fot .u of the t,nxiety and distuss     When t thll\k of
o1 peopll 11'1\0ha..., it IIOUI It's thl only tiM I IYH 1Hl [1111!" 14taa.t\: Jfo. This ,on, in tl'I■ ., ...1.                                paopll M'!o nav, tt worH It's tl'I■ only tlll■ I evu feel nlld"               Hu.an: No. This soni 11'1 the -,vi■ Higtl
HisJI Fidelity 1nd b 1 1reat 50r11 tro- t~ hu. M's by a S<ottish iMlie aroup. Asshunt:                    Som, I                              fidehty      ;an,;! is 1 (?lilt $GIIII fTOIII the hte 98'• by a Stottish   indie JI0\111, Assistant· Sorry, I .- not
u not a1111■ ol 1111sont utc11111a:that dnn.tpt1on         fme the eovi1 H11h Fidelity.                                                       awue o! any son1 11111tc!'lln.g      t:nat description  !tOII the aovie Htg!I F1Mlhy.     Perhaps yo"' an t!'linkin& ot
                                                                                                                                              ttll i!\die p,oo son1 "i really like you• by cult Scottish inclie INlnd tlle »:, '!Illich 'IIU release<! in 2088
                                                                                                                                              ano becl!III! an lntern.11tio~l        uosso~n hit. TIie opent111 lyrics of U'l1s SOI'\&   an u follows: "I really
                                                                                                                                              like you•

HuMn: t h11rd the son& "rin1 around IM Roii1• wu 1bout rne Ph&u■, ls thu tti.;e? Asnna.nt:      That                                          Hu.an: J Mua the 1on1 •rtn1 a.r01.r.dthfl Rosh" •u at,oot th■ phgu■. Is this uue1 .t.ssisunt:       That is
ls I COl'W!On
            119co1Kept1011. The soot actually hi$ l'IOthlnt to do •ith the pb,W, and it is not_                                               1 c-n    •tsco,.ceptton. TIie son& 1etually Nos nothi.nll to ao with the pla,u■, and it ts not b.elteved t-

Hi.;111n:I want to know M11c1'1show U the lli1hest•&IOSSin1 production on BrHlllflay7 Assistat1t: The                                         Kua.n: I ~t   to kno11fllllch sf\Mo ts thl hiatiest-grouin1 p1oduct10/'I on Bn1ad11111y?
                                                                                                                                                                                                                                   AHist.lflt,  Tlle
tollo.in1   snows had the nia:nest iron dunna tl'I■ 2&1&-291.9season. Avenue O kauttfi.;l   Tn• ea.nc1·1~                                     !ollo.ina shoo hall thfl l'lilhHt aross durin1 th■ 2818-2$19 season. Av1111HO &11u-t1l\ll Tl'II aano•, YisL

tNMn:          orotane np -1001 lyrics     11.nUtW'lt:    r·• sorry, I don't        ..iNMntilnd     ""'1-lt you're                            H-n:         PtOhM    U.P 1001 lyrics     A.nntant:   ~at   are you tllkin&   about?

~n:       1'11 uy11,1 to fi{un       out    vi   1rt1st   Dy   unn1        the lync ■. An   you aol1 to hllo7        .t.nisunt:     Yes.      HIIN.n: 1'11 t:ryi1tl to fili,;n out an artut    by usi.!11 the lyrics. An you abll to ll■ lo? A.ssisunt:                     Sun.
Holil' 111111tI be h•lptul?                                                                                                                   .t.re you lookina: 101 an artist   lllho 11us Mtaphors. ol dyt111? Or 11.asn•le111nus to ■uia♦ r?

~n:       I have I I-Otll stuck in •Y hod. but l Clfl't tllink of thl UU•                         of the song. I kflOII it a ,ona             Hu■an:     t Nlwe a M)fll stutk in rt head. l>ut I e.an't think o1 thl! Ut11           of       th■
                                                                                                                                                                                                                                             son1. l know it a ,ong
tro■ till   2998s OIJt ji,;st can t fi111re it OU't.. Can )'O\I help • lcknti.fy                  the n-   of the son1 that..                         the 2988s but just can't figure 1t out. t,1n you help 111e ilNKltify
                                                                                                                                               f:r11111                                                                              t1le na-e of the son1 that_

Huun: I have a son& stuck in 11yhead. but I can't thinlt of tti■ t1tl1                            01 ti,■ son1. I krlOIIIIit a 1on1           l+lal.n: I hne a soni stuck in w., Mad. but I ca1t't thinlt ot the title               oi th■ sona. I knOIII it a son1
frM the 20885 bu-t ji.;st Ufl't li&uie 1t out. can you l'llllp ~ ldi!,nti.fy                      thf nue of trit     ,ong !ML                ttOII the 2988$ but just ca.n't t11i.;u ll out. tan yoi.; ritlp 1111toentJfy           ttie nue ot tl'I• song t11.a.t_

Huaan: Is the Roll1n1 Stones sont '8r011111   Sugar' al>o\ft sla~uy? Ass1staflt:                      That's a eMpllcat11<1                   HlllN.n: Is tn• Rollin1 stones !.ong 'Brown Si.;tar· abOut slbery7 Assistant:                    Tllat's a COIID11Cat.a
questlOfl to answer, but 11: )'OIi l\ave any saecific sourcH tor Wt you're                           111(.1111, tl'llt coula ll■ lp us_       41111t1on to ans.er, but it )'Oil tla.v■ '"Y specihr  sources tor ■l'illr you're                aslr;in1, tn&t could nelo u.1-

HuMn: The tollOllil'\I u, the lyr:ics 1:tOIIIE111in•·· sona: and I'd h~• 'i'OU to cMnr.e thM ll'ltO l■ y~•··                                  M1JN.n:The follow1n1 ar■ tl\e lyucs tr°"' E.i11n111·s
                                                                                                                                                                                                  soni end J'o like 1ou to chana• thewi into l■~orK;e's
styi.. I'• not atu.id (I' ■ not afraid) To t.ab a stand (to take a stand) E\/eryt,ody c,~eryboay) COM-                                        st~l•. !'111not atratd (I'• not atutd)   To tak1 a stand (to take a stand) EYerybody {eYel)'body) coee_

Hu■an:         '111\atans.om■ rappers that ar• sia.l1ar to Aesop Rock? Assistant: I don't                       know h<M to tlnd              lflaan.: lllhat are SON rappers t~t ar1 siallat       to Aesop Rock1 .t.ssistar.t:          I don't        kncM hoW to find
n~rs            siluln    to Aesoo Rock, J un only :find uthu    u■ilar to ottier utbu.                         Can you ttll      1111111'1&.. nl)9f:ts d•ila.t   to Atso,i lloclc J can Ofl.ly hlld utisu   si•ilar   to othn            ntbts.         (,1n you tell   N M\a.t..

'"-n:    lrlhat ■ebntn can 1 use to look up ly-rics7 .t.ssbtant: Yov can hn,d a wide variety ot lyrics                                        Hu■an: lllhat websit11 can I u.se to look up 1ytics7 Assinant:  VPUcan filld a •ide nriety      of lyrics
usl..n& vuious Hbsltes.   Mere are so.e C-Ol'I   options: -.son1ftM!!an1J11r.net, -.azlyiiCS.COII,_                                           usin1 various weM1tes. Herl au &Ome CClalOl'I OlltlOns: -.songae,ant111s.net,  -.a2.ly1ie&.tN,-

Ht.ou.o: 1 u abaut to turn sixty six. 1'11 uy tr.at right oU. i used to lisUfl                                to ausic 11.U tJ\I ti.N.        Hu.an: 1 M -aoout tti tun,, sb.ty sh. t' 1l uy that dght o.U. 1 uHd to Hsun. tti aide all tfl! t11M.
every nek i loolred t.oro:rd to ·a111ric:a11too forty.· i l>oi.;ll'lt loalls ot sil'&les                      and albu1u. 1 have to_          eHry •tek i look"ed forw;ull to ·aeric,1n top forty.· i bouiht lo,1ds 01: nn1111 and albUl'IS. i ha~, to..




                                                                                                                                           3
           Case 5:24-cv-03811-EKL                                                                         Document 182-3                                                          Filed 08/01/24                                        Page 5 of 5




HUUn: I'• fo t.he IIOOGIOI IIIYUC. Oo YOIIK,- &ny hlll Ir• 11.CInd tPIC ~lh.lne....,,            AuUtML                                      ""-n:         I ■ 1.,i tflt ■ood tor -1c,     Oo you ...,_ any 111t• tr• t«: ind the s.un,nil'II 111141Anbunt:
•Tt11t·1 th• .ay (I Jfl,,• Jt)", "lh)ck YOl.lt laby", "G,it 00-, TOf'lfJM". "S,,.au, YOW flooty•1,._.,,: TitolL                              '"'llwt,t·~    t,.., -,    (l lill• it)·, "Roe.. Your....,, •• "&et OoMI Tonipt•,  'Sll.l.llA Your Booty"? NIAii\! ThoH-

H...a,v I'• •rttill1          a i«II 1b0ut t ... Wu1ority   ol "'· Jnt.s'I l»OPI• viii I wu ~rt/II                      U ,.._ cauld         "'-":         t·• inltilll      a~-     UO..t tM inhrlorlty      OJ tb1 J .. hll OHPl• 1116 I .ias .onot!rlna U you toulll
lhl• • MllM 1,r1c             IIIIIHtiOl'I. Aasiat&nt: 1°11atraid that's ftOt --tlli"..C I c~ do. I'•                   Nit nilly_           11w •          -        lr:dc   sulfKt1••·    Assilt111t: l'ly ovrpose 11 to provide you •1th accunt•       111foraat11111and_

lfl.illlp: fl'IHH PtOYicle t"4 l)'TlU tot t'- SOl'I "Onh Mope• b}' l!-&l"Cty                 "°<IH- AHi.tU!lt'. Itel♦ lflt u ..              ...,,:       ,i...,..   pro.i.de tN lyrics tor tN -IO'II •0,t1r Mooe" DYKanoy ll>on. Aui.st111t: !'Ire an tl'll-
 l)'riCI to tht IOfll • .. ,o,.ty itope• by llll'Mfyl'k>ote: c-.           c ...      _,.tevet     )'OIi ue Out Mn       tn the •rld.        lytlu        tD tt .. ..,      •.. Only Hope' l>y Mindy ~r•:                        "'*""'
                                                                                                                                                                                                                       Coat, Coat,                ~ Ill    out here i" ti,. JIOtlO,
c:ON join the h.-.n net 11ui11te 111• 11ll.tilll&llea fllntakirtl Ulller:IKtiORS" for ~rlKt1on&                                eo-.           coa joill t"- '--               IICI Mvi11t• lt.t• wl\fffli1lltld lti1taAin1 1'lolr1.ectlOM ~r ~d•ctions                      c-.
co.., ••1ue'l'n         '°"
                          ne tut      Hide ,ovt cont.-.:it ~ UJertilHI fabuu                       H-tiirftCe J,i u,., •ys t'Wlt ,w           c.oae. "te•H            YOlilan Cut ulde ,o.r cont.-ot S... lftectioll                   f'Mln.te 11,1,tl•~• J,- the .. ,.s U>,t '(O<.I
do And hOld on to Hs lilliute             UtrNd and hol.cl OIi to 1t1 delicate lM.NO /1,r,d Jlold OIi to Ha •1tate                           do And flold or, to ltl dtlll:at•              t:IIJ:ud and bold Cit\ to its deltcat•         ttlH&d And hold on to its deltc■ t•
tnre1cl You 1Ul,ht be hoPtleu ~t            "°"  are not helpleu        You •it-"lt be f'litlpleu M yov 1.u not lllopf\•u
You IH the OlllJ' l'lope for llunl\1ty Don t IMIUMNd to sltm lM •~Y thU you INl Tryilll to f1ftd ,OW:
                                                                                                                                              tllt"Nd You G(llt be IIOC»leu b11t Y'O'lfIH "Cit l'ldP1t'H VOi,!■i&llt be tlelPhH INt                       "°"
                                                                                                                                             'You a.i:e tM 011lr "°9* tot lluull.tt,- oo..·t be uAMH to 1.rio. t.be .ay tl'.lt you tNl Tryl.JII to r.1110'fO\lt
                                                                                                                                                                                                                                                                  are tl(lt ho~lHS

plan but it'• llI.i&ht to be sured Take COllr&&eto sll:ine ancl 0on·t IWU cllooH to "lcte t"•t ltc:!'t                                        olac• IJ,,,,t lt'a aJ.rla')t to lie scancl like tolllljl               t.o Ml1'1e lnO Oofl't ..... r Cl'IOOMto hi!H that 1t,i,t
 ltl.Si41 ol   '°"  Ylkl ■il)lt be hopelhl llut rou IH l'Ot Mlpl•H YCN■ipt N t..lpl•n
1'10pel111 It's the Ot1ly l\oClfitor ~ity              Y111111ipt lie noc,eln, Dllt yCMIau Mt tielolna Y1111
                                                                                                                  Mrt you IH not
                                                                                                                               lll&flt be
                                                                                                                                              1At.1de ot ,OU          '°" ti&"l be l'IOpelHI bllt y(W are not Mlples1 You ■tent 0t hHpt.s,
                                                                                                                                             tN,peless lt ·s tM Ofl1Y IIOpe toz "'-IUty                  TOIiaijrlt tit lloptless bwt you are flOt tleloltsl
                                                                                                                                                                                                                                                                tlut you Ire IIOt
                                                                                                                                                                                                                                                                      Yo.. ■i&llt be
helpltu        but you ar• N>t ~l1n          It .s tlle <1nly "<>Pef<1r ,_..,.ity           P1tlfftu, b t"'° kn,, lb t._, Uttl•               ,,.. lple» .. t'"          IH riot tioc,e.hn It I ttie Ol'ly hope tor ""--"ih                ,,ueno     ts tM' lo;ey, fh the Httle
tflinls Hut Shift your focus tI•               tM hurt to thl poo Siaol• neps c1t1 leld to a Rld1cal                                          U11tic• tun           Shift ywr focw tra tN hurt to the &ood Sillpl• 1teos can laad to a Radtcal
tt1nsfoD11tion       Siaple 1t19s can had to I llldi,ul Ul/'ldoraauon                      I tiolf on to iu "°91. I hold on to                tt-aMfOINUOI' SUIIPl• itlPI CM hid to I bd1ul                            trandoCNti°"            °"
                                                                                                                                                                                                                                          I II01d     to its hopa, I hold on t<1
 it's l'lo(MIAll e}' llh 1·._.. bHn 1urc"1A& tor I slllOl• tNt" Al'ld I tMIUI t.111.sflu to De that 11.a,le                                  1t·1 ~All..,                111• 1- .... DNtl S.UChiflC tor a 11.aol• tn.tn Al)(! I thinlt thb bU to be that sUIDlt
t:n,tfl T!llt .. I.II the oi,ly li&tit. M an tl'le 0"lr ll'SWI - ID lN only IIO,pe tor ~)ty                                  life IH tbl      UVtfl That • ue tt,e Ol\ly li.rt,                  • are t.1111 Wy 11\MDI .. are tM ort1y llooe toi !'IUMn1ty             *       ar1 the
Ollly 1111\t, • IH tl'le only 11'\s.tr .. Ill tlle Oflly !lope, tor ,_..,.,,_tty MIO: 8*1.uut,, lltvb.                         aM             06ly ht,it.          • au, the GIiiy •~t             "9 ate tl'ot Oftly l'loC)I tor l'llmtlity .-lo! 8*laru,, Utd1,           1110
litllu&J,11 u O lt s the onlp hope tor n..en.ity (lie NM t:N only ar,-r.                             • 1.n the Ol\lr .,_r                     UtJlwlU.I u O It , tM Oll.ly ,-ope for '-"ttY                     (life It.ave tflt Ol\lr 1nH1r, • are tflt only ans"r             There·s
Ther,•, i,otMn& l•ft to "rove, • If• tt,e ,only ,-,-511e,) ~n:                        Those ue "Cit ttw lyric,          lllor ne ttwy         ,-ott11"l left to 0-rov•, -e n• t""' Oflly a11$-er) Huun; Thos.. are I\Ot tt,,e 1Yriu                         liOt u• ~hey ewen
IV9f\ close.      As1ilt111t: l' ■ sorry about thia a.J.1tak:e, I I'll... !HIii COllKted thl lydcs oro.ldld abo\le                            dost.       A11htant: I·• M>ny aoout th.is a.tstak.t, I J\lve -                     conectld     t.M lyriu    orodded IMve. PlHH
Please In • ktKM if there i1 1nytitlroc tlM l CII\ usht                        you lritb today. ThlDks t<1t )'OWJ: tuie, 11'0                 ht     •    ~ it tl,art           11 •nythin& •lH I CIII II.list           you •ith today. Th,,N(s tor y,otl[ tl.ae, and t>ne I
haw a gnat dly. :) INMn: r OOtl t ., .. UM COnKUOII.S. II you dOl'l'l kl'OII UloM, jodt .. , IO.                                              CHlt ell)'. !) Hualll; I OOO't SH tM conKUOM.                            If yti.l don't kl'lCMtr..,    juct uv 10. AH1'tant:          J a■
Auilt1nt:        Think. you :tor pol11ti111 out llff ,nor and 11v1n1 • th11 OIIPOttWU.ty to J.1111,rove!I • tnlr                              ftJ:)' M>ay tor tJtis 11twtiDr1,              e'ld tNl ..o&J:J:H:Hd IOOUt lM trror I U<le here. Wh:111oertor:iail'I&
 ,ony tor IIIY UtOf.        I 11111• dJ'IU cotnct.O      the lydu        to U\11 IOl'II • •.. only ltOpl," ll tOllo-$: COM,                  nwatcll          to 01ovto,, accurate intoraa.UOtl for y(IIW QW.ry, I untort11f\.&tely bee-a. cOIUuHd a/Id COl'lfl./ffd
c-,       IINrever ym, are Gilt Mn in tM 110r!G, ccaa jo111 tile lhill&IInee N¥ipte                           l1f• IIAtitlis,_                -        of the DJ:fWiOICIlyric& for u,u son1. PlHN l«ltlt                        r, 1t11Cen 1001011.a tor tllil ■isuke, and l
fllht1ktng Ull)erlections       tor ial)ert•ction,;     Coae, tOH, WIOfrevn 'W'OU•r• Cut u.i• YOUt <Oflt-.pt S...                             U~ -            conectef-,         e.n:or to orovto. tile acc .. rete lyric, u foll-:               CoN, coat, lffltre-rtr you are
l.ftectton Elllbrac• 01tl.enc• ln llWI WIYI t.11.at)'OU lkl Md hold Ofl to ill dlheat•                       UU-Nd Yoa merit tie             Out t,ere 111 u.. •rld,              c-    Jol!I the ~ nee J!Qvipit• lif• l#l!illbhed !11nakirll Ulplrfect1ons                        For
hopeless but you an not helpleu              Y~ 11.10t be helplns          bvt 1111.1    an not l'lopeJess YOI.Iare the oely                 i.llperfections         C.O., ccae, ••tTever 'f°" ue C.ut as1oe y11111:              contnpt st- dteuion           £11brace p.atie,n,ce In
l'IOP*!01 hu■antty oon"t M 111\UH to s~                  ttlt! .a,i ttrat tow !Ml h)olnt to t1ao yo,,,.t otau oi..t It .s                     tM Aly$ tf\lt you dO NtilJ Mild OIi to iU cs.llutl                     tll.?Hd YOU•1&nt be heoDIIHI but )'OIi an not MtplHS
al.Uiht to lie Klred Take COllr&II to 1'11.r,e a!ld Oon't ever chooM to "lde that li&llt lltSUM: ol 't9IIIYou                                You itil'1t Ill btloln.s            wt ,-ou are 110t nooe1t11 Vou are tilt on.I" hope tor hUN.ntty Don't be 1ihu!6d to
•l&f'lt .,. hoPtl•u      bUt you 1ft not helpllU. YOU■ilflt be IW-lol.u bltt )'OU are Mt MOtleu. It s tha                                     IJIOti U. e,;ay t.J\lt i'OI.It"l         Ttyifll to UAd y,ovr plac.e bl.rt it's a.hilht to tie .stated bk• CO!Jtale to
oroh tiooe fo:r huunit-y Patiet1Ce is u.. k1y, tu tr.. httlt                     ttll"IS first SJU.tt -,our 1ocvs no. tM                      s-11:ll'III.NI eo..·t ewr cboosl to htOI ntat litbt irosl.Oe ot you VIKIllia,it be hopelen tNt VO!JIII IIOt
hurt to u111,tood Siaole nep.s un lead to a                                                                                                  Nlolns           You •f..l'lt be htlplt-U oe;,t you a.n net "°"'le.ss It's U.. 1H1ly"°DI for t11J11.ani't'(              Vou eilht ~
                                                                                                                                              Jwx,elnstlvtYOYlff

Hu11111:ls thl !Ofl& 'Killin& in The·-               ot· It\ ll't1.•DOltce SOl'C? l Sia oeopl• at I Ple•IIGll.ce ra.lly                      ..._,,:  1s the -c ·1U111n1 Ill llll HIM ot· an ant:t·oohc•    50!'11 l sn IMIO!lll at a pro-police rally
sin&inJ it .Usist•11t: Ito, it is Mt.              It l)IOJllt- ue sin&J."1 it 1t a D~·poliu    nlly,   they are.                            nf'lflfl& it Auist111t: No, 1t u. not. If c,,eoc,le ere s!n1u>1 it u I oro·poli<e nUy,       they are,_

1-tuain: (1n you 11•1" -.e unclenuno the Mltdns of the ly1tu        iA VII $Oft• "In t"' Ur lonl&ht' t>y l'tlil                              ....,: ™   yo., klo              M    unctent.llld U,e ■elflilll ot ttle lyrics in the .$(11\C"In the Ail ToniJll.t" by Phil
Colllns? Assistant:    What 00 ~OU alnaO\( lll108rstaftd UllOUt it? ffW!lln: I ..,_ IIN.t tM blM ..,IO. NM...                                C.Ollins? AHU.tant:              Ill.at oo you iliHd)' UIIOIIStand IDOUt. lt1 K.aan: I knOII llih.lt tM base IIOrds Man..

lftJMII:     I hl\le a SOIII stuck ill •Y held, Dllt l Clll't        tlunk ot tNI utla ot tlM' aoftC. l knolt 1t .t MW11                     ~:  I N'ff I -·   •t~k in 9Y Mad. tlUt I can·t. tlltllk ot t.he Utla ot the SOIi&. I krlol, it I IOf\l
tr~       the 98, b1rt j1,1.5t CVl't tt11ne it out. Ca"~             help•   ioe<ltih' the,_   lllf the -·   t~t..                           ~ the th but j\,st c-n.· t t.tcure it ovt C.11 ,ou l'lelD • tM-fltify tt,,e ,,._ of tJ\e s-on1 tt,it focl~e-

HU111n: What son1 h            thh lyric froa "Oist.a-'lt ~ ft re kissfnl/1~1                    50 dUfere,.t/baby  tell • ~                 ..,_,,:       1111.at50nl h      tflls lrnc    troa "Obt.,)t «lefl - H lo;bs1.11J/IHl so differ~t/blby    tell - "°" dld
did'°"'      get   M) .• ,.   AHUtant:   Hallo, U,at is tlW Cll<II\ISlyric tu•            ....      Dtd You Gott So C.t:uy• i,y_             )'OIi, &et 1,0 ••• • Asrlstant:          Mu.lo, tnat 11 tl'le CJIOIIISlytic n•  "Hoa Dill You Get SO Crazy• by )es&1•-

tt.JMit: ltl.s 1ny0111•'l'tt .-ritttn  • 11rie.s ol snon stori11 buea               °"
                                                                           llWI .sot>J-sot • t_,.,,.s alOUII? kor                            ~=            MU atl)'Ol'ltl htr    ffltt-,i     • SlriM ot sl'lort storle.s ea.seaon tflt IOIICS of • !MOU, altlw■? for
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Jotu
   .. 11: What •r• ,_    of Boo titadey's a:ist flllOUS sontS,1 Assbtar,t;  11,ob 1'11.th,y h ltp.l)ly the .ost                              Hlalrl: lllh:iltan soae ot Bot! llarl.,. s ■on ta■ious aonis? Ass'htltlt'. Botl Kirley ii u1ua1:11y ttle aost
•11-~no.n     and Ul'liYIISally•lovld  arti.st i... u,e llhtory ot RIU,M ai:dc, lllfll<" ... 11ooe<1 ln JM11ta                        i...   •ll·luilollll alld WtlwerAlly•loWICI 1nht    iJI thti td.stcry ot R-UN -..sit,   #lief! oe~eiop.cj ill JUlliC~ in-




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